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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                       CASE NO.

 ANNE KEYTE, on behalf of herself
 and all others similarly situated,

        Plaintiff,

 v.

 MEDICREDIT, INC.,
 a Missouri Corporation,

       Defendant.
 _________________________________________/

                                  CLASS ACTION COMPLAINT

       1.        Plaintiff alleges violations of the Fair Debt Collection Practices Act, 15 U.S.C.

  §1692 et seq. (“FDCPA”).

                                    JURISDICTION AND VENUE

       2.       This Court has jurisdiction under the Fair Debt Collection Practices Act, pursuant

  to 28 U.S.C. §1331 and 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff

  resides here, and Defendant conducts business in this District.

                                             PARTIES

       3.       Plaintiff, Anne Keyte (“Plaintiff”), is a natural person, residing in Saint Lucie

  County, Florida.

       4.       Defendant, Medicredit, Inc. (“Defendant”), is a Missouri Corporation and is

  engaged in the business of collecting consumer debts, which operates from offices located at 3620

  I-70 Drive SE, Suite C, Columbia, Missouri 65201.

       5.       Defendant regularly uses the United States Postal Service and telephone in the

  collection of consumer debts.
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         6.          Defendant is licensed in Florida as a consumer collection agency, license number

   CCA0900581. Defendant is not licensed in Florida as a commercial collection agency.

         7.          Defendant regularly collects or attempts to collect consumer debts for other parties.

   Defendant is a “debt collector” as defined by the FDCPA.

         8.          At all times material to the allegations of this Complaint, Defendant was acting as

   a debt collector with respect to the collection of Plaintiff’s alleged debt.

                                          FACTUAL ALLEGATIONS

         9.          Defendant sought to collect a consumer debt from Plaintiff, more specifically, a

   medical debt. The debt was incurred primarily for personal, household or family use. The debt

   was not incurred for any commercial purpose.

         10.         On or about September 5, 2017, Defendant mailed, or caused to be mailed to

   Plaintiff, a written communication seeking payment of an alleged debt. (The “Demand Letter” is

   attached hereto as “Exhibit 1”).

         11.         The Demand Letter states, in part:

  The account(s) listed below have been placed with this agency with the full intention of collecting
  on this account(s). Please give the past due account(s) the attention it deserves.

                                                          xxxx

Client Account #            Facility                    Patient Name   Date of Service            Balance

                   853-41   Heart Family Hlth Inst Of   Anne Keyte     05/01/2017                    27.47

                   683-42   Heart Family Hlth Inst Of   Anne Keyte     05/01/2017                    12.53




  1
    Plaintiff’s account number has been redacted for the protection of her privacy. Only the last four
  digits of the Plaintiff’s account number are reflected in the Complaint.
  2
    Plaintiff’s account number has been redacted for the protection of her privacy. Only the last four
  digits of the Plaintiff’s account number are reflected in the Complaint.
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       12.      The Demand Letter was Defendant’s initial communication with Plaintiff with

  respect to the debt alleged therein.

       13.      15 U.S.C. §1692g(a) states:

                        Validation of debts.

                        (a) Notice of debt; contents. Within five days after the initial
                        communication with a consumer in connection with the
                        collection of any debt, a debt collector shall, unless the
                        following information is contained in the initial
                        communication or the consumer has paid the debt, send the
                        consumer a written notice containing-

                        (1) the amount of the debt;

                        (2) the name of the creditor to whom the debt is owed;

                        (3) a statement that unless the consumer, within thirty days
                        after receipt of the notice, disputes the validity of the debt,
                        or any portion thereof, the debt will be assumed to be valid
                        by the debt collector;

                        (4) a statement that if the consumer notifies the debt collector
                        in writing within the thirty-day period that the debt, or any
                        portion thereof, is disputed, the debt collector will obtain
                        verification of the debt or a copy of a judgment against the
                        consumer and a copy of such verification or judgment will
                        be mailed to the consumer by the debt collector; and

                        (5) a statement that, upon the consumer’s written request
                        within the thirty-day period, the debt collector will provide
                        the consumer with the name and address of the original
                        creditor, if different from the current creditor.

 (Emphasis added).

       14.      Defendant’s Demand Letter does not identify a creditor to whom the debt is owed.

  Instead the Demand Letter only identifies the facility at which Plaintiff received her medical

  treatment.
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       15.      15 U.S.C. §1692e(10) states:

                        A debt collector may not use any false, deceptive, or
                        misleading representation or means in connection with the
                        collection of any debt. Without limiting the general
                        application of the foregoing, the following conduct is a
                        violation of this section:

                                                    xxxx

                        (10) The use of any false representation or deceptive means
                        to collect or attempt to collect any debt or to obtain
                        information concerning a consumer.

       16.      Defendant’s Demand Letter is false and misleading as it omits the name of the

  creditor to whom the alleged debt is owed and only lists the facility at which Plaintiff received

  treatment.

       17.      Any potential bona fide error defense which relies upon Defendant’s mistaken

  interpretation of the legal duties imposed upon it by the FDCPA would fail as a matter of law.

                                CLASS ACTION ALLEGATIONS

       18.      This action is brought on behalf of a Class consisting of (i) all natural persons with

  addresses in Saint Lucie County, Florida (ii) to whom an initial written communication was

  mailed, or caused to be mailed (iii) by Defendant (iv) that identified the facility as “Heart Family

  Hlth Inst Of” (v) and did not name a creditor (vi) that were not returned undeliverable by the U.S.

  Post Office (vii) in an attempt to collect a debt incurred for personal, family, or household

  purposes (viii) during the prior one year period ending on the date of the filing of this Complaint.

       19.      Plaintiff alleges on information and belief that Defendant’s practice of sending

  initial communication letters that did not name the creditor of the debt served upon the Class is

  so numerous that joinder of all members of the Class is impractical.

       20.      There are questions of law or fact common to the Class.             Common issues
  predominate over any issues involving only individual Class members. The common legal and
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  factual issue to each Class member is that each was mailed, or caused to be mailed, an initial
  written communication by Defendant that did not contain the name of the creditor to whom the
  debt was owed as required by 15 U.S.C. §1692g(a).
       21.       Plaintiff’s claim is typical of those of the Class members. All are based on the same

  facts and legal theories.

       22.       Plaintiff will fairly and adequately protect the interests of the Class. She has

  retained counsel experienced in handling actions involving unlawful practices under the FDCPA

  and Class actions. Neither Plaintiff nor her counsel have any interests which might cause them

  not to vigorously pursue this action.

       23.       Certification of the Class under Rule 23(b)(3) of the Federal Rules of Civil

  Procedure is also appropriate in that:


                 (1) The questions of law or fact common to the members of the
                 class predominate over any questions affecting an individual
                 member.

                 (2) A class action is superior to other available methods for the fair
                 and efficient adjudication of the controversy.

       24.       Plaintiff requests certification of a Class under Rule 23(b)(3) of the Federal Rules

  of Civil Procedure for monetary damages; her appointment as Class Representative; and that her

  attorney Leo W. Desmond be appointed Class Counsel.

                                   COUNT I CLASS CLAIM
                               VIOLATION OF 15 U.S.C. §1692g(a)

       25.       Plaintiff re-alleges Paragraphs 1 through 17.

       26.       15 U.S.C. §1692g(a)(2) states:

                         Validation of debts.

                         (a) Notice of debt; contents. Within five days after the initial
                         communication with a consumer in connection with the
                         collection of any debt, a debt collector shall, unless the
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                          following information is contained in the initial
                          communication or the consumer has paid the debt, send the
                          consumer a written notice containing-

                                                         xxxx

                          (2) the name of the creditor to whom the debt is owed;

       27.         Defendant mailed, or caused to be mailed the Demand Letter to Plaintiff, in an

  attempt to collect a consumer debt.

       28.         The Demand Letter was the initial communication in connection with the collection
  of a consumer debt between Defendant and Plaintiff.

       29.         Defendant’s Demand Letter does not identify the creditor to whom the debt is owed,
  as required by 15 U.S.C. §1692g(a)(2).

       30.         The Demand Letter omits the name of the creditor to whom the alleged debt is owed
  and only lists the partial name of the facility at which Plaintiff received treatment, “Heart Family
  Hlth Inst Of.”

       31.         As a result of Defendant’s conduct, Plaintiff and the Class are entitled to an award

  of statutory damages pursuant to 15 U.S.C. §1692k.

       32.         As a result of Defendant’s conduct, Plaintiff and the Class entitled to an award of
  costs and attorney’s fees pursuant to 15 U.S.C. §1692k.

                                       COUNT II CLASS CLAIM
                                   VIOLATION OF 15 U.S.C. §1692e(10)

       33.         Plaintiff re-alleges Paragraphs 1 through 17, and 26 through 30.

       34.         15 U.S.C. §1692e (10) states:

                          A debt collector may not use any false, deceptive, or
                          misleading representation or means in connection with the
                          collection of any debt. Without limiting the general
                          application of the foregoing, the following conduct is a
                          violation of this section:
                                                      xxxx
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                           (10) The use of any false representation or deceptive means
                           to collect or attempt to collect any debt or to obtain
                           information concerning a consumer.

       35.       Defendant mailed, or caused to be mailed the Demand Letter to Plaintiff, in an

  attempt to collect a consumer debt.

       36.       The Demand Letter was the initial communication in connection with the collection
  of a consumer debt between Defendant and Plaintiff.

       37.       The Demand Letter is false and misleading because it omits the name of the creditor
  to whom the alleged debt is owed and only lists the facility at which Plaintiff received treatment.

       38.       Defendant’s Demand Letter would be deceptive to the least sophisticated consumer

  with regard to his/her legal rights.

       39.       As a result of Defendant’s conduct, Plaintiff and the Class are entitled to an award

  of statutory damages pursuant to 15 U.S.C. §1692k.

       40.       As a result of Defendant’s conduct, Plaintiff and the Class are entitled to an award
  of costs and attorney’s fees pursuant to 15 U.S.C. §1692k.

                                         RELIEF REQUESTED

                WHEREFORE, Plaintiff prays for the following relief:

                 a. An Order certifying the FDCPA matter as a Class Action and appointment of

                     Plaintiff as Class Representative;

                 b. An Order appointing Leo W. Desmond as Class Counsel;

                 c. An award of statutory damages for Plaintiff and the Class pursuant to 15 U.S.C.

                     §1692k for all Class claims;

                 d. An award of attorney’s fees, litigation expenses and costs of the instant suit;

                     and

                 e. Such other and further relief as the Court deems proper.
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 Dated: February 26, 2018.
                                    Respectfully submitted,

                                    /s/ Leo W. Desmond
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